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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
 Case No.    2:20-cv-03940-SVW-AGR                                         Date        April 9, 2021
             Sharon Tipich v. Nationstar Mortgage LLC et al
 Title




 Present: The Honorable    STEPHEN V. WILSON, U.S. DISTRICT JUDGE
                  Paul M. Cruz                                               N/A
                  Deputy Clerk                                     Court Reporter / Recorder
          Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                        N/A                                                      N/A
 Proceedings:           IN CHAMBERS ORDER TO SHOW CAUSE WHY COMPLAINT
                        SHOULD NOT BE DISMISSED

        On April 1, 2021, the U.S. Supreme Court issued its opinion in Facebook, Inc. v. Duguid, which
held that “a necessary feature of an autodialer under [47 U.S.C.] § 227(a)(1) is the capacity to use a
random or sequential number generator to either store or produce phone numbers to be called.” 2021
WL 1215717, at *7 (2021). Upon review of the complaint in this case, it appears to the Court that the
allegations may be inconsistent with this requirement. Within 7 days, Plaintiff is ordered to show cause
why the complaint should not be dismissed. Plaintiff’s response should be no longer than 5 pages.




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                                                          Initials of Preparer
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